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                     IN THE UNITED STATES COURT
                   FOR THE DISTRICT OF PUERTO RICO


     UNITED STATES OF AMERICA,

           Plaintiff,

              v.
                                       CRIM. NO. 22-342 (SCC)
     WANDA VÁZQUEZ-GARCED [1],
     JULIO M. HERRERA-VELUTINI [2],
     AND MARK T. ROSSINI [3],


          Defendants.




                        PROTECTIVE ORDER

          In view of the Court’s Order at Docket No. 404

    granting the Government’s Motion filed at Docket No. 403,

    and Pursuant to Federal Rule of Evidence 502(d), Federal Rule

    of Criminal Procedure 16(d), and the Court’s Protective

    Orders at Docket Nos. 31 and 76 it is ORDERED that:

          (1) The Government, by and through its assigned Filter

          Team, is authorized to produce to the Defendants

          discovery materials that may contain information

          potentially subject to the attorney-client privilege,

          attorney work product doctrine, or other privilege or

          protection belonging to a third party (collectively, the

          “BIBTC Filter Material”).
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             (2) The BIBTC Filter Material was obtained in response

             to search warrants executed on an Apple Account

             associated with Defendant Herrera-Velutini; a Yahoo

             Account associated with Defendant Herrera-Velutini;

             an Apple Account associated with Defendant Rossini;

             a Google Account associated with Defendant Rossini;

             an Apple Account associated with Frances Díaz, the

             former president of BIBTC who pleaded guilty in

             March 2022 in Case No. 22-cr-085 (FAB); a Yahoo

             Account associated with Díaz; and two phones seized

             from Díaz.


             (3) Pursuant to Federal Rule of Evidence 502(d),

             disclosure of the BIBTC Filter Material to the

             Defendants will not result in any subject matter waiver

             in this proceeding and will not result in waiver of the

             attorney-client privilege, attorney work product

             protection, or any other applicable privilege or

             protection, in this or in any other Federal or State

             proceeding.
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             (4) The Protective Orders issued on August 16, 2022,

             see Docket No. 31, and September 2, 2022, see Docket

             No. 76, shall apply to the discovery material produced

             pursuant to this Protective Order.

        IT IS SO ORDERED.

        In San Juan, Puerto Rico, this 8th day of November 2023.

                     S/ SILVIA CARREÑO-COLL
               UNITED STATES DISTRICT COURT JUDGE
